        Case 4:22-cv-03091                 Document 40-1            Filed on 07/27/23 in TXSD   Page 1 of 2


  From:
Subject: Fwd: A Message from Acting President Mark A. Welsh III
   Date: July 26, 2023 at 1:33 PM
     To: Jonathan Mitchell jonathan@mitchell.law




       ---------- Forwarded message ---------
       From: Office of the President <president@tamu.edu>
       Date: Wed, Jul 26, 2023, 6:12 PM
       Subject: A Message from Acting President Mark A. Welsh III
       To:




                   A message from
                   Acting President Mark A. Welsh III




                   Members of the Aggie Family,

                   Howdy! When Chancellor Sharp called me last Thursday evening to ask if I
                   would be willing to lead our university while a search is conducted to find the
                   next president, I was stunned…and honored.


                   Texas A&M has been a part of my life for as long as I can remember. I’m the son
                   of the proudest Aggie I ever knew, Mark A. Welsh Jr. ’46; a brother to five
                   Aggies; father to four Aggies; and grandfather to a member of the Class of 2026.
                   Some of my earliest memories are of visiting Aggieland with my father to attend
                   football and baseball games and Bonfire. In 2016, I was privileged to become
                   dean of the Bush School of Government and Public Service. It was a wonderful
                   opportunity to “answer the noble calling of public service,” as President George
                   H.W. Bush so eloquently said. It was also a wonderful opportunity to serve this
                   great university that I have come to love.

                   Remarkable things are happening every day across our campuses. That work
                   must not slow down. As acting president, my primary responsibility is to ensure
Case 4:22-cv-03091       Document 40-1         Filed on 07/27/23 in TXSD          Page 2 of 2

      must not slow down. As acting president, my primary responsibility is to ensure
      that all of you have what you need to keep moving forward in your eﬀorts to help
      our students answer the call to a life of service, a life of distinction, a life of
      honor. I’m working hard to understand the next major decision points and gather
      the information that will allow me to best serve you and this institution. I believe
      strongly in both.

      Texas A&M has been in the news lately, and not for the reasons we would like.
      But recent events and the accompanying commentary do not define us as an
      institution, nor do they undo the great work we see across this university every
      day. They should, however, remind us that living up to our core values is an
      ongoing commitment, as even esteemed institutions like ours must consistently
      confront and resolve challenges to uphold our status as a great university. Just
      to be clear on where I stand, I believe diversity in all its forms is a strength. I
      believe every Aggie must have a voice, that each of you is critically important to
      our success and that you deserve to be treated with respect. I think you also
      believe those things.

      Texas A&M has weathered many storms over its 147-year history, and we’ll
      weather this one. The quickest way to get past it is to walk side-by-side and
      recommit to showing the world what it means to be an Aggie. I’m looking
      forward to the journey.

      Gig ’em!




      r/mark
      Mark A. Welsh III, Acting President




      president@tamu.edu



      You are receiving this oﬃcial university correspondence, sent on behalf of the
      Texas A&M University Oﬃce of the President, because you are either an
      incoming, current or former student, aﬃliate, staﬀ or faculty member of Texas
      A&M University.


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